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                     Exhibit
                     Exhibit C
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   Message
   From:           Fischer, Debra L. [debra.fischer@morganlewis.com]
   Sent:           3/1/2019 2:30:37 PM
   To:             Reshma Dalia [/O=CORPORATE/OU=First Administrative Graup/cn=Recipients/cn=rdalia]
   CC:             Casto, Lorraine M. [lorraine.casto@ morganlewis.com]; Gerber, Seth M. [seth.gerber@morganlewis.com];
                   Wagmeister, Adam E. [adam.wagmeister@ morganlewis.com]
   Subject:        RE: Lockton - IT Issues



   This message has originated outside the organization,



   Understood. The fimitatio ns would only be For a short period of time, but | appreciate your concer. Ll have Christy's
   email, but do you have her phone number? Thanks.

   Debra L. Fischer
   Morgan, Lewis & Bockius LLP
   2049 Century Park East | Suite 700 | Los Angeles, CA 9C067
   Direct; +1,310.807.1111   } Main: +1,310.907.1000 | Fax: +1,310,807.1001
   debra.fischer@morganlewis.com | www.morganiewis.com
   Assistant: Nichele Goitia | +1.310.907.1047 | nichele.goitia@morganlewis.com


   From: Reshma Dalia <rdalia@alliant.com>
   Sent: Friday, March 1, 2019 12:47 PM
   To: Fischer, Debra L. <debra.fischer@morganlewis.com>
   Ce: Casto, Lorraine M. <lorraine.casto@morganlewis.com>; Gerber, Seth M. <seth.gerber@morganlewis.com>;
   Wagmeister, Adam E. <adam.wagmeister@morganlewis.com>
   Subject: RE: Lockton - IT Issues

   [EXTERNAL EMAIL]
   See below responses.      Thanks.

   Reshma      Dalia
   Chief Financial Officer
   Alliant Specialty Group
   Alliant Insurance Services, inc.

   ©     213 443 2460
   C     213 500 7067

   CA License No, 0C356861




   From: Fischer, Debra L. [maiito:debra.fischer@morganlewis.com]
   Sent: Friday, March D1, 2019 12:15 PM
   To: Reshma Dalia <rdalia@alliant.com>
   Cc: Casto, Lorraine M. <lorraine.casto@morganiewis.com>; Gerber, Seth M. <seth.zgerber@morganiewis.com>;
   Wagmeister, Adam E. <adam.wagmeister@morganiewis.com>
   Subject: Lockton - IT Issues


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                                               EE                        i        EN Ns...       LL




   For the Lockton folks, we are preparing papers to oppose a temporary restraining order/preliminary injunction in
   Missouri and need to draft a declaration from the IT person who will be responsible for issuing and configuring the
   computers/mobile phones for the Lockton hires. Can you tell me who will be the IT person with respect to these
   hires? Christy Ensign from IT is coordinating these efforts so you need to check with her who should sign.        There a few
   people involved, but | don’t know who handles what.


   We also would like to implement new IT measures that will be helpful, based on our prior experience. In addition to our
   standard procedures of disabling administrative rights and access to USBs, CDs/DVDs, personal email sites, cloud storage
   sites, file sharing sites, and social media sites on the Alliant computers, we would like to do the following:

        e    Block the new hires’ Alliant email accounts from being able to receive emails from their personal email accounts
             for a limited time period after the hire date (during the time period in which new hires are contacting their
             clients in an effort to obtain business; i.e., during the time period where a TRO/Pi is most likely). This will make
             it more difficult for employees to circumvent our existing protocols by forwarding prior employer information
             from their personal computers to their Alliant email accounts, and is an alternative to monitoring the new hires’
             Alliant email accounts for forwarded information, which is more time consuming and costly. Lorraine and
             Michael Palfy have already discussed whether this is feasible and believe it can be accomplished relatively
             easily. For the producer level employees, we will get their personal email accounts during the pre-hire device
             interview/remediation process. As for the other new hire candidates, Morgan Lewis eData attorneys will
             interview them on their first day at Alliant before they get access to their Alliant devices, will identify their
             personal emails and ask IT to block them on the email system before providing access to Alliant email to the new
             hires.

        s    Implement measures in the new hires’ Alliant mobile phones that prevent access of personal email, cloud
             storage, fire sharing, and social media site access. This will make it more difficult for employees to circumvent
             our existing protocols that presently just restrict computers.

   Can Lorraine and Michael Palfy further discuss implementing the above measures? Sounds pretty harsh — remember we
   need it to also be a positive transition for folks b/c we anticipate strong counter offers. Last thing we want to dois
   create a negative environment right off the bat. | think we should discuss this w/ PA early next week. In the meantime,
   Lorraine can discuss with IT for now to see if it’s feasible, but | recommend going ta Christy, not Michael and asking her
   to recommend who to speak with since she’s been leading the 17 efforts on this one. Just to be clear, | don’t want this
   implemented until we've spoken to PA.

   One last question — will all the new hires be given Alliant cell phones, or only higher level employees? Plan is for All

   Thanks,
   Deb

   Debra 1. Fischer
   Morgan, Lewis & Bockius LLP
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   Direct: +1.310.807.1111 | Main: +1.310.907.1000 {| Fax: +1.310.907.1001
   debra. fischer@morganlewls.com | www.morganlewis.com
   Assistant: Nichele Goitia | +1.310.807.1047 | pichele goltia@morganlewis.com




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